                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             CIVIL ACTION NO. 1:23-CV-00114

        JOHN DOE,

                Plaintiff,

        v.                                                          ORDER

        WAKE FOREST UNIVERSITY,

                Defendant.



       THIS MATTER is before the Court on non-party John E. Fitzgerald’s Motion to Quash

Subpoena (Doc. No. 46). To allow the Court sufficient time to fully review Mr. Fitzgerald’s motion

and a response from Wake Forest University as well as provide an additional opportunity for the

parties to confer to resolve this dispute, the Court stays Mr. Fitzgerald’s obligation to respond to

the subpoena at issue until the Court rules on the pending motion. Further, the Court directs Wake

Forest to file a response of no more than five pages in length to the motion on or before May 31,

2023. Following the response, the Court expects to promptly rule on the motion so that whatever

discovery is ordered can move forward quickly.

       For the guidance of the parties as they confer, and of course subject to consideration of

Wake Forest’s response, it appears to the Court that the subpoena broadly seeks the production of

privileged attorney-client communications and work product that the Court is unlikely to compel

(or require to be listed separately in a privilege log, although a summary privilege log may be

appropriate). However, to the extent Mr. Fitzgerald has non-privileged communications and

materials then those are likely to be ordered to be produced. June 15, 2023, appears to be a

reasonable target date for the completion of a response to a properly limited subpoena.



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SO ORDERED ADJUDGED AND DECREED.




                        Signed: May 25, 2023




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